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                            NO. 23-60069


         IN THE UNITED STATES COURT OF APPEALS
                 FOR THE FIFTH CIRCUIT


                      STATE OF TEXAS et al.,

                               Petitioners,

                                    v.

UNITED STATES ENVIRONMENTAL PROTECTION AGENCY et al.,

                            Respondents.


 MOTION FOR RECONSIDERATION OF ORDER DENYING
 MOTION FOR LEAVE TO INTERVENE OF SIERRA CLUB,
 DOWNWINDERS AT RISK, AND AIR ALLIANCE HOUSTON

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                          INTRODUCTION

     Sierra Club, Downwinders at Risk, and Air Alliance Houston

(collectively, “Proposed intervenors”) hereby move for reconsideration of

this Court’s April 19, 2023, Order (Doc. 235-2) denying their

intervention—before Proposed intervenors’ reply in support of their

motion to intervene would have been due. The Court’s Order relied

exclusively on two erroneous determinations: first, that Respondent

EPA adequately represents Proposed intervenors’ interests; and second,

that Proposed intervenors’ alternative request for permissive

intervention was forfeited. Order at 2. Had Proposed intervenors been

allowed to file the reply that the Federal Rules of Appellate Procedure

entitle them to, they would have refuted the meritless arguments raised

in opposition to their motion to intervene by Texas and the Texas

industry petitioners. Proposed intervenors thus make their arguments

here and seek an order either granting intervention, or carrying their

motion for leave to intervene with the case so that the merits panel can

better assess Proposed intervenors’ arguments on inadequacy of

representation.




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     Texas and Texas industry petitioners (collectively, “Petitioners”)

do not dispute the timeliness of Proposed intervenors’ motion to

intervene, Proposed intervenors’ strong interests in this case, or that

disposition of this case may impair those interests. See, e.g., State of

Texas Petitioners’ Response to Motion for Leave to Intervene 3-6 (Doc.

205). Instead, they argue that these interests will be adequately

represented by EPA. Id. They wrongly contend EPA and Proposed

intervenors share the “same ultimate objective,” defending the

challenged Disapproval Rule, 88 Fed. Reg. 9,336 (Feb. 13, 2023); that

there is thus a presumption that EPA adequately represents Proposed

intervenors’ interests; and that Proposed intervenors’ arguments fail to

rebut that presumption. Id.; see also Texas Industry Petitioners’

Response to Motion for Leave to Intervene 4-6 (Doc. 209) (claiming

Proposed intervenors raised identical arguments as EPA in responding

to stay motions). Without the benefit of Proposed intervenors’ reply, this

Court assumed the same. See Order at 2. This is wrong for two reasons:

first, the presumption does not apply, and second, even if it did,

Proposed intervenors have demonstrated adversity of interests.




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       Also, though the Court need not reach this question if it agrees

EPA may not adequately represent Proposed intervenors’ interests,

Proposed intervenors have not forfeited their argument and satisfy the

elements for permissive intervention.

  I.     EPA may not adequately represent Proposed
         intervenors’ interests.

       A. The Court should not presume EPA adequately
          represents Proposed intervenors’ interests here.

       Contrary to Petitioners’ claims, a presumption of adequate

representation does not apply to Proposed intervenors in this case. As

this Court explained in Brumfield v. Dodd, “it is not evident that the

ultimate-objective presumption of adequate representation even

applies” when the government “has more extensive interests to balance

than do the [proposed intervenors].” 749 F.3d 339, 346 (5th Cir. 2014).

“[A]ll that the rule requires” is “that the state’s more extensive interests

… might” result in inadequate representation, even when, as here,

“both” the government and Proposed intervenors “vigorously oppose

dismantling” the rule at issue. Id. at 345-46 (emphasis added); see also

Trbovich v. United Mine Workers of Am., 404 U.S. 528, 538 n.10 (1972)

(the rule is satisfied when the proposed intervenor shows that


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representation by existing parties “may be” inadequate). Though “a

private group does not always satisfy this prong just because a

governmental entity is on the same side of an issue,” the burden is

“minimal.” Brumfield, 749 F.3d at 346.

     Proposed intervenors have met their “minimal” burden here. Id.;

Trbovich, 404 U.S. at 538 n.10. EPA has many interests in this case

beyond defending the Disapproval Rule, including maintaining its

relationship with the states and regulated entities, and limiting

encumbrances on its authority. Proposed intervenors do not share these

interests with EPA. Instead, Proposed intervenors’ concern is securing

nationally consistent, meaningful, and timely reductions in the

pollution from Texas, Louisiana, and Mississippi that harms their

members’ health and welfare—specific pollution reduction measures

that they are entitled to under the Clean Air Act. See, e.g., 42 U.S.C. §§

7604(a)(2), 7410(a)(2)(D), (c); Complaint, Downwinders at Risk, et al. v.

Regan, No. 4:21-cv-03551-DMR (N.D. Cal. May 12, 2021).

     EPA has routinely acted—or failed to act—in ways that

contravene those interests, such as by not timely disapproving

inadequate state implementation plans, not timely promulgating


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replacement federal implementation plans, and taking or promoting

interpretations of the Clean Air Act provision at issue here that allow

harmful ozone pollution to persist. See, e.g., Downwinders at Risk, No.

4:21-cv-03551-DMR (N.D. Cal.) (Proposed intervenors challenge EPA

failure to disapprove inadequate state implementation plans regarding

cross-state ozone); Sierra Club, et al. v. Regan, No. 3:22-cv-01992-JD

(N.D. Cal.) (several of Proposed intervenors challenge EPA failure to

promulgate federal implementation plans regarding cross-state ozone);

New York v. EPA, 781 F. App’x 4 (D.C. Cir. 2019) (Proposed intervenors

challenge EPA’s illegal implementation of cross-state pollution

requirements at issue here). Proposed intervenors thus cannot rely on

EPA to adequately represent their interests here.

     Moreover, because motions to intervene in petitions for review of

agency action must be filed at an early stage in litigation, see 5th Cir. R.

15.5 (such motions should be filed “promptly,” and “not later than” 14

days before the brief of the party being supported), it is especially

important to have “doubts resolved in favor of the proposed intervenor.”

In re Lease Oil Antitrust Litig., 570 F.3d 244, 248 (5th Cir. 2009); see

also Brumfield, 749 F.3d at 341 (“Rule 24 is to be liberally construed.”);


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Sierra Club v. Espy, 18 F.3d 1202, 1205 (5th Cir. 1994) (granting timber

associations’ motion to intervene on behalf of the U.S. Forest Service to

defend a forest plan, and noting “[f]ederal courts should allow

intervention where no one would be hurt and the greater justice could

be obtained”).

     In any event, the inadequacy of representation is hardly

hypothetical. Brumfield at 749 F.3d at 346. (“The lack of unity in all

objectives, combined with real and legitimate additional or contrary

arguments, is sufficient to demonstrate that the representation may be

inadequate” (emphasis in original)). In briefing on the motion to

transfer or dismiss, EPA and Petitioners did not address how piecemeal

judicial review and inconsistent interpretation and application of the

Clean Air Act would harm Proposed intervenors’ members’ (or the

public’s) health and welfare interests, but Proposed intervenors did. See

Proposed Intervenors’ Mar. 27, 2023 Response in Opposition to the

Motions to Stay the Final Rule (Doc. 111) (attached); Proposed

Intervenors’ Apr. 17, 2023 Response in Opposition to Louisiana’s

Motion to Stay the Final Rule (Doc. 233-5) (attached); Proposed




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Intervenors’ Apr. 17, 2023 Reply in Support of Transfer (Doc. 230)

(attached).

     In addition, litigation creates “[t]he risk [] that an agency could

circumvent the rulemaking process through litigation concessions,

thereby denying interested parties the opportunity to oppose or

otherwise comment on significant changes in regulatory policy.”

Mexichem Specialty Resins v. EPA, 787 F.3d 544, 557 (D.C. Cir. 2015);

see also WildEarth Guardians v. U.S. Forest Serv., 573 F.3d 992, 997

(10th Cir. 2009) (“government policy may shift”). This risk is heightened

when, as here, challenges to multiple, often overlapping but not

coextensive bases for EPA’s action are potentially proceeding in as

many as eight circuits.

     While Proposed intervenors cannot be required to predict and

present their responsive merits arguments at this early stage or prove

that EPA’s representation of its interests will be inadequate, Proposed

intervenors will likely continue to make different or additional merits

arguments to protect their interests—and that is all that is required to

demonstrate EPA’s representation “may be” inadequate. Trbovich, 404

U.S. at 538 n.10; see also Brumfield at 749 F.3d at 346 (“might” be


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inadequate “is all that the rule requires.”). For example, as raised in

Proposed intervenors’ Motion for Leave to Intervene (at 26), Proposed

intervenors may argue that actual, monitored ozone levels further

support EPA’s reasonable determination that Texas’s modeling (like

EPA’s, for that matter) underestimates future ozone levels.

     Another example: though EPA rejected it in the Disapproval Rule,

several states including Mississippi attempted to rely on a laxer

threshold for ozone contribution established in EPA guidance regarding

“significant impact levels,” under a separate air quality program. 88

Fed. Reg. at 9,372; see also id. at 9,357-58 (Mississippi made such an

attempt); see also Miss. Br. 28-29, 34-35 (Doc. 335) (premising argument

on significant impact levels). Proposed intervenors’ position regarding

the legality of that other threshold differs significantly from EPA’s—

Proposed intervenors contend that threshold is flatly illegal under the

Act, as well as arbitrary, but EPA holds the opposite position for the

separate air quality program. See, e.g., Sierra Club v. EPA, 955 F.3d 56

(D.C. Cir. 2020); Sierra Club v. EPA, 705 F.3d 458 (D.C. Cir. 2013).

     In short, EPA has taken—and may continue to take—positions

germane to this case that are materially different from, and


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inconsistent with, Proposed intervenors’ interests. Because the agency

“might” not adequately represent Proposed intervenors’ interests, the

Court should grant intervention. Brumfield at 749 F.3d at 346. At a

minimum, this Court should carry Proposed intervenors’ motion with

the case to the merits so that it may better assess Proposed Intervenors’

“real and legitimate additional or contrary arguments.” Id. at 346.

     B. Even if the presumption were to apply, Proposed
        intervenors’ interests diverge from EPA’s to overcome
        the presumption.

     Even if the presumption were to apply, the Court’s single-judge

order erroneously assumed Proposed intervenors may overcome that

presumption only with a showing of EPA’s “adversity of interest,

collusion, or nonfeasance.” Order 2 (citing Edwards v. City of Houston,

78 F.3d 983, 1005 (5th Cir. 1996) (en banc)). But those are not the “only

three ways” to overcome the presumption. Texas v. United States, 805

F.3d 653, 662 n.5 (5th Cir. 2015). Instead, Proposed intervenors must

simply demonstrate that their “interests diverge from [EPA’s] interests

in a manner germane to the case,” id. at 662, “which may lead to

divergent results.” La Union del Pueblo Entero v. Abbott, 29 F.4th 299,

308 (5th Cir. 2022) (emphasis in original) (in a challenge to Texas


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election law, Texas did not adequately represent private parties’

interests where the proposed intervenors sought to uphold the law on

different grounds).

     As described in the preceding section, Proposed intervenors’

interest in ensuring meaningful reductions in the pollution that harms

their members’ health and welfare leads them to take specific positions

that differ from EPA’s positions and are directly relevant to this

litigation. See Texas, 805 F.3d at 663 (intervention permitted where

applicants “specify the particular ways in which their interests diverge

from the Government’s”). Indeed, as also discussed in the preceding

section, Proposed intervenors’ and EPA’s diverging interests have

already affected the briefing in this litigation. EPA’s motion to transfer

or dismiss, for example, did not address the impacts of piecemeal review

on Proposed intervenors’ (or the public’s) health and welfare, though

Proposed intervenors sought to. See supra at 6-7; Texas, 805 F.3d at 663

(intervention permitted where applicants “identify the particular way in

which these divergent interests have impacted the litigation”).

     Several Texas industry petitioners provide further support for

Proposed intervenors’ motion. Notwithstanding their arguments here,


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when the shoe has been on the other foot, industry petitioners (all of

whom are petitioners here) have similarly, and successfully, argued

that industry has narrower, different interests than EPA, and thus

“EPA cannot adequately represent [their] interests in” a challenge to

EPA action approving a state implementation plan that industry

petitioners sought to uphold. E.g., Sierra Club v. EPA, No. 20-60303

(5th Cir. May 14, 2020), Doc Nos. 00515416753 at 16; 00515418274

(Order, May 15, 2020). Industry intervenors aptly explained that

“EPA’s interest must necessarily relate to the broader ‘general public

interest’” and “to the fulfillment of its obligations under the [Clean Air

Act],” different from their specific interest. Sierra Club, No. 20-60303,

Doc. No. 00515416753 at 16 (quoting Doe, 256 F.3d at 380). Just as

industry intervenors could not rely on EPA to adequately represent

their specific interests, Proposed intervenors here cannot rely on EPA to

adequately represent their specific interest in ensuring their own health

and wellbeing is and will be protected.

     Moreover, that Proposed intervenors litigated to secure a deadline

compelling the action challenged here is relevant to the interests

inquiry. If petitioners were to succeed and the Disapproval were


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remanded, Proposed intervenors may be left without recourse were EPA

to once again delay addressing inadequate state implementation plans.

As parties, Proposed intervenors could seek mandamus relief from this

Court. It is Proposed intervenors’ members who are harmed by every

day of delay—not EPA, and certainly not petitioners.

  II.     Alternatively, permissive intervention is appropriate,
          and Proposed intervenors did not waive their
          arguments.

        As described above and in their motion for leave to intervene,

Proposed intervenors satisfy the elements for intervention as of right.

Alternatively, to the extent this Court applies Federal Rule of Civil

Procedure 24 in this direct review case, Proposed intervenors meet the

requirements for permissive intervention because they will assert

defenses that share questions of law and fact with the main action,

including whether the disapproval action is supported by the agency’s

record. Fed R. Civ. P. 24(b)(1). Specifically, Proposed intervenors

anticipate addressing whether the state plans that do not require any

emission reductions, despite contributing to harmful air quality in other

states, meet the Clean Air Act’s strict minimum compliance

requirements. Proposed intervenors also anticipate making arguments


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that may differ from EPA’s, such as the importance of citizen suits and

the public comment process under the Clean Air Act; the applicability

and interpretation of agency guidance; and impacts to public health

from pollution from Texas, Louisiana, and Mississippi.

     Contrary to Texas’s claim, Proposed intervenors adequately raised

arguments supporting permissive intervention in their motion.

Proposed intervenors described their distinct, direct, and substantial

interests in the challenged action at length in their Motion (at 14-16,

17-26), including protecting their members from cross-state ozone

pollution and defending the implementation of the consent decree they

successfully litigated to obtain and that is threatened by this litigation. 1

Based on these identified interests, Proposed intervenors identified

different defenses (at 26) in support of EPA’s action that they would

likely make in response to questions of law and based on facts shared

with Petitioners’ challenges. In a short concluding section, set off by

asterisks, Proposed intervenors concisely explained that, even if the


1 Petitioners themselves highlight elsewhere in their Oppositions the

arguments Proposed intervenors have already made on the shared facts
and question on venue, to defend their members’ interests in consistent,
nationwide reductions in ozone pollution. See Tex. Opposition 5-6;
Luminant Opposition at 4-6.
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above did not satisfy the requirements for intervention as of right,

“[a]lternatively,” it met the prerequisites for permissive intervention.

Mot. for Leave to Intervene 27 (No. 100-1). This explanation was “brief,

but adequate” to avoid forfeiture, especially under the required

“liberal[]” construction of briefs and Rule 24. Frew v. Janek, 820 F.3d

715, 719-20 (5th Cir. 2016); Brumfield, 749 F.3d at 341; United States v.

Miranda, 248 F.3d 434, 444 (5th Cir. 2001) (“we must liberally construe

briefs in determining what issues have been presented for appeal.”).

     Because Proposed intervenors laid out their interests and

concisely connected them to the governing standard for permissive

intervention, these circumstances are a far cry from the cases cited in

Texas’s Opposition, and the Court’s summary denial of intervention.

Texas Resp. at 6 (citing Coury v. Moss, 529 F.3d 579, 587 (5th Cir.

2008)); Order at 2 (citing Melgar v. T.B. Butler Publ’g Co., 931 F.3d 375,

382 n.6 (5th Cir. 2019)). In Coury, the Court held that a defendant

forfeited a claim where he only cited “cases [that were] inapposite to the

present case” and “present[ed] no argument to explain how these cases

constitute authority for their bare assertion.” Id. at 587. And in Melgar,

the Court found that an issue had been inadequately briefed because


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“even under a liberal interpretation of [the] brief, he has failed to raise

the issue.” Id. at 382 n.6 (emphasis added)). And, Proposed intervenors

were entitled to provide the above reply elaborating on the arguments

raised in their motion.

     Moreover, Proposed intervenors’ intervention will not “unduly

delay or prejudice the adjudication of the original parties’ rights.” Fed.

R. Civ. P. 24(b)(3). Proposed intervenors filed their motion timely. See

Fifth Circuit Rule 15.5. As they also intend to file briefs and other

submissions jointly, their participation will be conducted efficiently. The

Court has not yet scheduled oral argument or established any briefing

schedule. Proposed intervenors’ participation will not undermine the

efficient and timely adjudication of these cases and thus should be

allowed. See John Doe No. 1 v. Glickman, 256 F.3d 371, 375 (5th Cir.

2001) (“Federal courts should allow intervention where no one would be

hurt and the greater justice could be obtained.”)

                             CONCLUSION

     For the foregoing reasons, Proposed Intervenors respectfully

request that the Court reconsider its April 19, 2023 Order denying leave

to intervene in Case No. 23-60069 and either grant intervention or


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carry their motion for leave to intervene with the case so that the

merits panel can better assess Proposed intervenors’ arguments on

inadequacy of representation.

                                  Respectfully submitted,

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                 CERTIFICATE OF CONFERENCE

     Pursuant to Fifth Circuit Rule 27.4, proposed intervenors have

consulted with counsel for the other parties in this case. EPA takes no

position. The Texas State and Industry Petitioners, the Mississippi

State and Industry Petitioners, the Louisiana State and Industry

Petitioners, and Entergy Louisiana oppose and reserve their right to

respond.

Dated: June 5, 2023

                                        /s/ Joshua D. Smith
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CERTIFICATE OF COMPLIANCE WITH TYPE-VOLUME LIMIT

     The undersigned counsel states that this motion complies with

Fed. R. App. P. 27(d)(2)(A) because it contains 2,834 words, excluding

the caption, signature blocks, and required certifications, as counted by

a word processing system and, therefore, is within the word limit. This

motion also complies with typeface requirements of Fed. R. App. P.

27(d)(1)(E) because it has been prepared in a proportionally spaced

typeface in 14-point Century Schoolbook font.

     Dated: June 5, 2023

                                        /s/ Joshua D. Smith
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      CERTIFICATIONS UNDER ECF FILING STANDARDS

     Pursuant to paragraph A(6) of this Court’s ECF Filing Standards,

I hereby certify that (1) required privacy redactions have been made,

5th Cir. R. 25.2.13; (2) the electronic submission is an exact copy of the

paper document, 5th Cir. R.25.2.1; and (3) the document has been

scanned for viruses with the most recent version of a commercial virus

scanning program and is free of viruses.

     Dated: June 5, 2023

                                        /s/ Joshua D. Smith
